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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 21-cr-670
               v.                            :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                         Defendant.          :

      UNITED STATES’ RESPONSE TO DEFENDANT’S NOTICE REGARDING
                       PUBLICITY DURING TRIAL

       On July 22, 2022, the Defendant filed a notice with the Court identifying publicity relating

to the Defendant that occurred during trial. ECF No. 127. Specifically, the Defendant noted that

he had been mentioned during the July 21, 2022, hearing held by the U.S. House Select Committee

to Investigate the January 6th Attack on the U.S. Capitol (“the Committee”). Id. at 2. The

Defendant stated in his notice that he made the filing in accordance with his counsel’s discussion

with the Court at the pretrial conference on July 14, 2022, about how the Defendant should

complete the record for appeal relating to his pretrial publicity claims. See Pretrial Conf. Hrg.,

7/14/22, Tr. at 25-26.

       The Defendant did not, however, include in his notice any of the publicity about the

Committee, the Defendant, or the trial proceedings that the Defendant himself generated in the

lead up to or during trial. Accordingly, the Government files this response to the Defendant’s

notice to add to the record the Defendant’s own efforts to publicize the CNN program about which

the Defendant has raised claims of prejudice, see ECF No. 108 at 5-6; ECF No. 127 at 3, and to

garner coverage of the Committee’s work and his trial.

       Specifically, the Government provides notice of the following:

   1) On a July 12, 2022, episode of his podcast, War Room, the Defendant discussed his
      eleventh-hour offer to testify before the Committee. He also stated that listeners should
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       pray for “our enemies” because “we’re going medieval on these people, we’re going to
       savage our enemies.” See Episode 1996, War Room, July 12, 2022, available at
       https://warroom.org/2022/07/12/episode-1996-pfizer-ccp-backed-partners-elon-musk-
       trolls-trump-alan-dershowitz-on-partisan-america-and-the-constitution-informants-
       confirmed-at-j6/ (last accessed July 27, 2022) (time 16:37 to 17:46).

   2) On July 15, 2022, after moving to continue trial because of a CNN program planned for
      Sunday, July 17, 2022, about the Defendant, see ECF No. 108 at 5-7, an advertisement for
      the CNN program was posted to the Gettr page of the Defendant’s podcast, the War Room.
      See Ex. 1.

   3) On July 17, 2022, the Defendant’s personal Gettr account reposted an advertisement for
      the same CNN program. See Ex. 2.

   4) On July 18, 2022, after trial had concluded for the day, the Defendant gave a press
      conference in front of the courthouse doors. During the press conference, the Defendant
      called the Committee’s hearings a “show trial.” See “Bannon calls Jan. 6 committee
      hearing a ‘show trial,’” Wash. Post, July 18, 2022, available at
      https://www.washingtonpost.com/video/politics/bannon-calls-jan-6-committee-hearing-a-
      show-trial/2022/07/18/c2dfca98-3788-43f8-95ee-db31b978ccca_video.html              (last
      accessed July 27, 2022).1

   5) On July 19, 2022, after trial had concluded for the day, the Defendant gave a press
      conference in front of the courthouse doors. During the press conference, the Defendant
      complained that Committee Chair Rep. Bennie Thompson was not testifying in his trial,
      referred to another member of the Committee and another member of Congress by
      derogatory names, and accused the Committee of not investigating January 6 in good faith.
      See “Prosecutors say Bannon willfully ignored subpoena,” Associated Press Archive, July
      24, 2022, available at https://www.youtube.com/watch?v=3SR_EJL5nkw (last accessed
      July 27, 2022).

   6) On July 20, 2022, after trial had concluded for the day, the Defendant gave a press
      conference in front of the courthouse doors. During the press conference, the Defendant
      called the Committee’s work a “show trial, the Moscow show trial of the 1930s.” He also
      reiterated what had been admitted into evidence during the trial that day about his public
      statements at the time he refused to comply with the Committee’s subpoena, stating, “I
      stand with Trump and the Constitution.” The Defendant further commented on the
      evidence admitted during trial that day, stating, “Hey, the big news coming out of the FBI
      is they went to the Gettr account, check it out.” See “Bannon’s team questions House
      subpoena deadline,” Associated Press Archive, July 25, 2022, available at
      https://www.youtube.com/watch?v=RJ9qH4zMMI0 (last accessed July 27, 2022).



       1
        The Government notes that while it links here to one source for each of the Defendant’s
courthouse press conferences, the Defendant’s and his attorney’s statements during the press
conferences he held throughout trial were covered by several national news outlets.

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7) On July 21, 2022, after proceedings had concluded for the day, the Defendant gave a press
   conference in front of the courthouse doors. During the press conference, both the
   Defendant and his counsel commented on issues relevant to legal issues that had been
   litigated in the case proceedings. The Defendant’s attorney commented on his advice-of-
   counsel and executive privilege claims and the Defendant discussed purported details about
   his prior compliance with congressional subpoenas. In addition, the Defendant again
   reiterated his public statement that had been entered into evidence the prior day: “I stand
   with Trump and the Constitution.” See “Trump ex-adviser Bannon rests case in trial,
   calling      no     witnesses,”    Reuters,      July    21,    2022,      available     at
   https://www.reuters.com/world/us/ex-trump-aide-bannon-seek-dismissal-criminal-
   contempt-congress-charges-2022-07-21/ (last accessed July 27, 2022) (excerpts of press
   conference included in video at top of article).



                                                Respectfully submitted,

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